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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

Dynamite Marketing, Inc.                     )
                                             )      Case No. 18-cv-7760
v.                                           )
                                             )      Judge: Hon. John J. Tharp
THE PARTNERSHIPS and                         )
UNINCORPORATED ASSOCIATIONS                  )      Magistrate: Hon. Young B. Kim
IDENTIFIED ON SCHEDULE “A”                   )
                                             )
                                             )


                             SATISFACTION OF JUDGEMENT

        Plaintiff, in accordance with FRCP 60(b)(5), having reached a post-default settlement

agreement with the Doe Defendants listed below:

 Doe       Store Name                                              Store ID
 94        boxia                                                   5810661365cd5d1e69e9239f



dismisses them from the suit without prejudice.

Dated this 16th Day of September, 2019.             Respectfully submitted,


                                             By:      s/David Gulbransen/
                                                    David Gulbransen
                                                    Attorney of Record
                                                    Counsel for Plaintiff

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